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     Attorneys for Defendants
11   UNITED STATES OF AMERICA, et al.
12                           UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                WESTERN DIVISION
15 PAUL SNITKO, JENNIFER SNITKO,             Case No. 2:21-cv-04405-RGK-MAR
   JOSEPH RUIZ, TYLER GOTHIER,
16 JENI VERDON-PEARSONS,                     DEFENDANTS UNITED STATES OF
   MICHAEL STORC, and TRAVIS                 AMERICA, ET. AL’S SECOND
17 MAY,                                      STATUS REPORT REGARDING THE
                                             STATE OF PRODUCTION AS TO
18             Plaintiffs,                   PLAINTIFFS’ DOCUMENT REQUEST
                                             NUMBERS 6 THROUGH 10 IN
19                    v.                     DEFENDANTS’ SECOND SET OF
                                             REQUESTS FOR PRODUCTION OF
20 UNITED STATES OF AMERICA. ET              DOCUMENTS
   AL,,
21                                           [DISCOVERY MATTER]
            Defendants.
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 1         Defendants United States of America and Tracy L. Wilkison and Kristi Koons
 2   Johnson in their official capacities (collectively, “the government”) hereby provide this
 3   second status report regarding the state of its production, pursuant to the Court’s order
 4   filed May 2, 2022 (docket no. 99) regarding document request numbers 6-10 in
 5   plaintiffs’ second set of requests for production of documents and the government’s May
 6   9, 2022 report. In the May 9, 2022 report, the government stated it would be providing a
 7   further report regarding the videos called for by document request number 9 for which
 8   there are approximately 50, and for which the government previously indicated it would
 9   produce those videos when they are available and on a rolling basis. The government
10   will be producing 20 of the videos this week. The government is continuing to work on
11   firm dates for the production of the remaining videos, but cannot provide a firm date at
12   this time. However, the government will file another status report on May 24, 2022,
13   concerning the state of production of the remaining videos.
14   Dated: May 16, 2022                           Respectfully submitted,
15                                                 TRACY L. WILKISON
                                                   United States Attorney
16                                                 SCOTT M. GARRINGER
                                                   Assistant United States Attorney
17                                                 Chief, Criminal Division
18                                                       /s/             ______________
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